   Case:19-04547-BKT13 Doc#:59 Filed:07/20/20 Entered:07/20/20 13:14:30                               Desc: Order
                        Event: Reconsideration O Page 1 of 1
                               IN THE UNITED STATES BANKRUPTCY COURT
                                           District of Puerto Rico



IN RE:

GIOVANNI MARIN IRIZARRY                                      Case No. 19−04547 BKT
aka GIOVANI MARIN, aka GIOVANNI MARIN
WALESKA OLIVO SANTIAGO
aka WALESKA OLIVO                                            Chapter 13


xxx−xx−0979
xxx−xx−3849                                                  FILED & ENTERED ON 7/20/20


                         Debtor(s)



                                     ORDER GRANTING RECONSIDERATION

Upon debtor's (s') request for reconsideration of the order dismissing the instant case (docket entry #55), due notice
having been given, there being no opposition and good cause appearing thereof, the motion is granted. The Order
Dismissing the Case is vacated and set aside.

IT IS SO ORDERED.

In San Juan, Puerto Rico, this Monday, July 20, 2020 .
